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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORI.

 

KAISER ALUMINUM WARRICK, LLC,
Plaintiff,

ragainst- Case No. 22-cv-03105-IGK

US MAGNESIUM, LLC,

Defendant.

 

 

WHEREAS all of the parties to this action (collectively the “Parties” and individually a
“Party”’) request that this Court issue a protective order pursuant to Federal Rule of Civil
Procedure 26(c) to protect the confidentiality of certain nonpublic and confidential material that will
be exchanged pursuant to and during the course of discovery in this case;

WHEREAS, the Parties, through counsel, agree to the following terms;

WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords only
extends to the limited information or items that are entitled, under the applicable legal principies, to

confidential treatment;

 

-WHEREAS, the Parties further acknowledge that this Protective Order does not create
entitlement to file confidential information under seal; and

WHEREAS, in ght of these acknowledgements, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information the public
disclosure of which will cause harm to the producing person and/or third party to whom a duty of
confidentiality is owed, and to protect against injury caused by dissemination of confidential
documents and information, this Court finds good cause for issuance of an appropriately tailored

confidentiality order governing the pretrial phase of this action;

 
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NOW THEREFORE, having found that good cause exists for issuance of an appropriately
tailored confidentiality order governing the pre-trial phase of this action, and the parties having
stipulated to the following provisions;

IT IS HEREBY ORDERED THAT any person subject to this Protective Order—including
without limitation the Parties, their representatives, agents, experts and consultants, all non-parties
providing discovery in this action, and all other interested persons with actual or constructive
notice of this Protective Order—shall adhere to the following terms:

1. Any person subject to this Protective Order who receives from any other person
‘subj ect to this Protective Order any “Discovery Material” (ie., information of any kind produced
or disclosed pursuant to and in course of discovery in this action) that is designated as
“Confidential” pursuant to the terms of this Protective Order (hereinafter “Confidential Discovery
Material”) shall not disclose such Confidential Discovery Material to anyone else except for use im
this litigation and only as expressly permitted hereunder.

2, The person producing any given Discovery Material may designate as
Confidential only such portion of such material the public disclosure of which is either restricted
by law or will cause harm to the business, commercial, financial or personal interests of the
"producing person and/or a third party to whom a duty of confidentiality is used and that consists
of:

a. previously not publicly disclosed financial information (including without
limitation profitability reports or estimates, percentage fees, design fees, royalty
rates, minimum guarantee payments, sales reports, and sale margins);

b. previously not publicly disclosed sensitive or proprietary information about the
business operations of any company, including, without limitation, information
about the operation, design, engineering, maintenance, and repair of any business
equipment; production formulas, methods, and processes; customer and supplier
information and purchase histories; employee lists; forecasts; technical analyses;

product or service plans; training, educational and instructive materials, and any
trade secrets and intellectual property;
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c. previously not publicly disclosed material relating to ownership or control of any
non-public company;

d. previously not publicly disclosed business plans, product development information,
or marketing plans;

e. previously not publicly disclosed information of a personal or intimate nature
regarding any individual; or

f. any other category of information hereinafter given confidential status by the Court.

3. With respect to the Confidential portion of any Discovery Material other than
deposition transcripts and exhibits, the producing person or that person’s counsel may designate
such portion as “Confidential” by stamping or otherwise clearly marking as “Confidential” the
protected portion in a manner that will not interfere with legibility or audibility. A Party may
also separately produce for future public use another copy of said Discovery Material with the
confidential information redacted.

4, With respect to deposition transcripts, a producing person or that person’s
counsel may designate such portion as Confidential either by (a) indicating on the record during
the deposition that a question calls for Confidential information, in which case the reporter will
bind the transcript of the designated testimony (consisting of question and answer) in a separate
volume and mark it as “Confidential Information Governed by Protective Order”; or (b) notifying
the reporter and all counsel of record, in writing, within 30 days after a deposition has concluded,
of the specific pages and lines of the transcript and/or the specific exhibits that are to be
designated Confidential, in which case all counsel receiving the transcript will be responsible for
marking or otherwise designating the copies of the designated transcript or exhibit (as the case
may be), in their possession or under their control as directed by the producing person or that
person’s counsel by the reporter. During the 30-day period following the conclusion of a
deposition, the entire deposition transcript will be treated as if it had been designated

Confidential. If at any time prior to the trial of this action, a producing person realizes that some
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portion(s) of Discovery Material that she, he, or it had previously produced without limitation

should be designated as Confidential, she, he, or it may so designate by so apprising all prior

recipients of the Discovery Material in writing, and thereafter such designated portion(s) of the

Discovery Material will thereafter be deemed to be and treated as Confidential under the terms of

this Protective Order.

5,

No person subject to this Protective Order other than the producing person shall

disclose any of the Discovery Material designated by the producing person as Confidential to any

other person whomsoever, except to:

a.

b.

the Parties to this action, their insurers, and counsel to their insurers,

litigation counsel retained specifically for this action, and any paralegal, clerical
and other assistant employed by such counsel and assigned to this matter;

outside vendors or service providers (such as copy-service providers and
document-management consultants, graphic production services or other litigation
support services) that counsel hire and assign to this matter, mcluding computer
service personnel performing duties in relation to a computerized litigation system;

any mediator or arbitrator that the Parties engage in this matter or that this Court
appoints, provided such person has first executed a Non-Disclosure Agreement in
the form annexed as an Exhibit hereto unless the mediator is a Magistrate Judge
assigned by the Court to serve as the mediator;

as to any document, its author, its addressee, and any other person indicated on the
face of the document as having received a copy;--

atly witness who counsel for a Party in good faith believes may be called to testify
at trial or deposition in this action, provided such person has first executed a Non-
Disclosure Agreement in the form annexed as an Exhibit hereto;

atty person retained by a Party to serve as an expert witness or otherwise provide
specialized advice to counsel in connection with this action, provided such person
has first executed a Non-Disclosure Agreement in the form annexed as an Exhibit
hereto;

stenographers engaged to transcribe depositions conducted in this action; and

this Court, including any appellate court, and the court reporters and support
personnel for the same.

 
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Prior to any disclosure of any Confidential Discovery Material to any person referred to in
subparagraphs 5(d), 5(f) or 5(g) above, such person shall be provided by counsel with a copy of
this Protective Order and shall sign a Non-Disclosure Agreement in the form annexed as an Exhibit
hereto stating that that person has read this Protective Order and agrees to be bound by its terms,
Said counsel shall retain each signed Non-Disclosure Agreement, hold it in escrow, and produce it
to opposing counsel either prior to such person being permitted to testify (at deposition or trial) or
at the conclusion of the case, whichever comes first.

6, Any Party who objects to any designation of confidentiality may at any time prior
to the trial of this action serve upon counsel for the designating person a written notice stating
with particularity the grounds of the objection. If the Parties cannot reach agreement promptly,
counsel for all Parties will address their dispute to this Court in accordance with Paragraph 1(F)
of this Court’s Individual Practices in Civil Cases or, to the extent discovery disputes are referred
to Magistrate Judge Parker, pursuant to her Individual Practices. To the extent that a different
district court or magistrate judge is ever assigned to this case, then that judge’s or those judges’
Individual Practices shall apply to such disputes.

7 Any Party who requests additional limits on disclosure (such as “attorneys’ eyes
only” in extraordinary circumstances) may at any time prior to the trial of this action serve upon
counsel for the receiving Party a written notice stating with particularity the grounds for the
request. If the Parties cannot reach agreement promptly, counsel for all Parties will address their
dispute to this Court in accordance with Paragraph 1(B) of this Court’s Individual Practices in
Civil Cases or, to the extent discovery disputes are referred to Magistrate Judge Parker, pursuant
to her Individual Practices. To the extent that a different district court or magistrate judge is ever
assigned to this case, then that judge’s or those judges’ Individual Practices shall apply to such

disputes.
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8. A Party may be requested to produce Discovery Material that is subject to
contractual or other obligations of confidentiality owed to a non-Party. Within five business days
of discovering in the exercise of reasonable diligence that such confidentiality obligations may be
implicated, the receiving Party subject to such obligation shall inform the non-Party of the request
and that the non-Party may seek a protective order or other relief from this Court. If neither the
non-Party nor the receiving Party seeks a protective order or other relief from this Court within 21
days of that notice, the receiving Party shall produce the information responsive to the discovery
request but may affix the appropriate controlling designation.

9 Recipients of Confidential Discovery Material under this Protective Order may
use such material solely for the prosecution and defense of this action and any appeals thereto,
and specifically (and by way of example and not limitations) may not use Confidential Discovery
Material for any business or commercial purpose, nor for any other purpose. Nothing contained in
this Protective Order, however, will affect or restrict the rights of any person with respect to its
own documents or information produced in this action. Nor does anything contained in this
Protective Order limit or restrict the rights of any person to use or disclose information or
material obtained independently from and not through or pursuant to the Federal Rules of Civil
Procedure.

10, All persons seeking to file redacted documents or documents under seal with the
Court shall follow any applicable court rules. No person may file with the Court redacted
documents or documents under seal without first seeking leave to file such papers. All persons
producing Confidential Discovery Material are deemed to be on notice that the Second Circuit
puts limitations on the documents or information that may be filed in redacted form or under seal
and that the Court retains discretion not to afford confidential treatment to any Confidential

Discovery Material submitted to the Court or presented in connection with any motion,
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application or proceeding that may result in an order and/or decision by the Court unless it is able
to make the specific findings required by law in order to retain the confidential nature of such
material, Notwithstanding its designation, there is no presumption that Confidential Discovery
Material will be filed with the Court under seal. The Parties will use their best efforts to minimize
such sealing.

Lk. All persons are hereby placed on notice that the Court is unlikely to seal or
otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial
or supporting or refuting any motion for summary judgment, even if such material has previously
been sealed or designated as Confidential. /

12, If, in connection with this litigation, a Party or non-Party inadvertently discloses
information subject to a claim of attorney-client privilege or attorney work product protection
(“Inadvertently Disclosed Information”), such disclosure shall not constitute or be deemed a
waiver ot forfeiture of any claim of privilege or work product protection with respect to the
Inadvertently Disclosed Information and its subject matter.

13, If a disclosing party makes a claim of inadvertent disclosure, the receiving party
shall not thereafter review the Inadvertently Disclosed Information for any purpose, except by
order of the Court. The receiving party shall, within five business days, return or destroy all
copies of the Inadvertently Disclosed Information, and provide a certification of counsel that all
such information has been returned or destroyed.

14. Any Party filing a motion or any other papers with the Court under seal shall
follow the procedures set forth in Paragraph VI of the Court’s Individual Practices or, if another
district judge is assigned to this case, that judge’s Individual Practices conceming sealing and the

applicable Local Rules of this Court.

 
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15. Each person who has access to Discovery Material that has been designated as
Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure of
such material.

16. Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the persons who receive such information and are
bound by this Protective Order in a manner that is secure and confidential. In the event that the
person receiving PII experiences a data breach, she, he, or it shall immediately notify the
producing person of the same and cooperate with the producing person to address and remedy the
breach. Nothing herein shall preclude the producing person from asserting legal claims or
constitute a waiver of legal rights or defenses in the event of litigation arising out of the receiving
person’s failure to appropriately protect PII from unauthorized disclosure.

17. This Protective Order shall survive the termination of the litigation. Within 30
days of the final disposition of this action, all Discovery Material designated as “Confidential,”
and all copies thereof, shall be promptly returned to the producing person, or, upon permission of

the producing person, destroyed.
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18. All persons subject to this Protective Order acknowledge that willful violation of

this Protective Order could subject them to punishment for contempt of Court. This Court shall

retain jurisdiction over all persons subject to this Protective Order to the extent necessary to

enforce any obligations arising hereunder or to impose sanctions for any contempt thereof.

$0 STIPULATED AND AGREED.
Dated: June 15, 2022

/s/ Andrew B. Kratenstein
Andrew B. Kratenstein
Matthew J. Barnett
McDermott Will & Emery LLP
One Vanderbilt Avenue

New York, New York 10017
(212) 547-5400

Counsel for Plaintiff
Kaiser Aluminum Warrick, LLC

SO ORDERED

Dated: be // s/ a on

New York, New York

fs/ Martin S. Krezalek
Martin S. Krezalek
Amelia Clegg

“ Blank Rome LLP |

1271 Avenue of Americas
New York, NY 10020
(212) 885-5000

Counsel for Defendant US Magnesium, LLC

Svon. John'G. Koeltl
United States District Judge

 
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

KAISER ALUMINUM WARRICK, LLC,
Plaintiff,

-against- Case No. 22-cv-03105-JGK

US MAGNESIUM, LLC,

Defendant.

 

 

OL, , acknowledge that I have read and understand the
Protective Order in this action governing the non-disclosure of those portions of Discovery
Material that have been designated as Confidential. I agree that I will not disclose such
Confidential Discovery Material to anyone other than for purposes of this litigation and that at
the conclusion of the litigation I will either return all discovery information to the party or
attorney from whom I received it, or upon permission of the producing party, destroy such
discovery information. By acknowledging these obligations under the Protective Order, I
understand that I am submitting myself to the jurisdiction of the United States District Court for
the Southern District of New York for the purpose of any issue or dispute arising hereunder and
that my willful violation of any term of the Protective Order could subject me to punishment for
contempt of Court.

Dated:

 
